                 Case 4:95-cr-00123-WTM-CLR Document 1046 Filed 07/21/08 Page 1 of 1
 'A0 247 (02/08) Order Regarding Motion Ibr Sentence Reduction


                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                                                                                          JL 2     P1 2: 2;-
                                                             Southern District of Georgia
                                                                Savannah Division                                          ))y1414c-
                    United States of America                             )
                                   V.                                    )
                                                                         ) Case No: CR495-00123-014
                       Ricardo Howard Grant
                                                                         ) USM No: 08889-021
Date of Previous Judgment: January 9, 1996                               ) Walter W. i3aIIew, 111
(Use Date of Last Amended Judgment if Applicable)                        ) Defendant's Attorney


                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant Lithe Director of the Bureau of Prisons Lithe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
              DENIED.             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                              the last judgment issued) of
                                                        312          months is reduced to         253 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                     38                               Amended Offense Level:     36
Criminal History Category:                  III                              Criminal History Category: TI'
Previous Guideline Range:               292 to 365 months                    Amended Guideline Range 235 to 293 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
LI Other (explain):




If this sentence is less than the amount of time the defendant has already served, the sentence is reduced to a "Time
Served" sentence.


Except as provided above, all provisions of the judgment dated January 9, 1996,                          shall remain in effect.
iT IS SO ORDERED.

Order Date:
                                                                                                  Judge's signa


                                                                             William T. Moore, Jr.
Effective Date: _______________________                                      Chief Judge, U. S. District Court
                     (if different from order date)                                           Printed name and title
